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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                   )
                                                   )
    Ángel Alejandro Heredia Mons, et al., on       )
    behalf of himself and others similarly         )
    situated,                                      )
                                                   )
                    Plaintiffs,                    ) Civil Action No. 1:19-cv-01593(JEB)
                                                   )
            v.                                     )
    CHAD WOLF, Acting Secretary                    )
    of the Dep’t of Homeland Security, in his      )
    official capacity, et al.,                     )
                                                   )
            Defendants.                            )

                                  JOINT STATUS REPORT

       The Court’s Minute Order dated April 6, 2020, directed the parties to file a Joint Status

Report by June 8, 2020, setting forth their position(s) on future scheduling. Accordingly, the

parties report as follows.

       1. Currently pending before the Court is Plaintiffs’ motion to show cause, for expedited

discovery and for appointment of a special master. Defendants’ deadline to respond to that motion

is June 16, 2020.

       2. The parties propose that they address further scheduling issues either at any hearing on

the pending motion or in a subsequent status conference with the Court.

                                     Respectfully submitted,

                                     MICHAEL R. SHERWIN
                                     Acting United States Attorney

                                     DANIEL F. VAN HORN, D.C. BAR # 924092
                                     Civil Chief
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                     By: ___/s/________________
                     JEREMY S. SIMON, D.C. BAR #447956
                     Assistant United States Attorney
                     Civil Division
                     555 4th Street, N.W.
                     Washington, D.C. 20530
                     (202) 252-2528
                     Jeremy.Simon@usdoj.gov

                     Counsel for Defendants

                         AND


                     MELISSA CROW (D.C. Bar #453487)
                     Senior Supervising Attorney

                     _______/s/_________________
                     LUZ V. LOPEZ (pro hac vice)
                     Senior Supervising Attorney
                     SOUTHERN POVERTY LAW CENTER
                     1101 17th St., NW, 7th Floor
                     Washington, DC 20036
                     Tel: (202) 355-4471
                     Melissa.Crow@splcenter.org
                     Luz.Lopez@splcenter.org

                     VICTORIA MESA-ESTRADA (pro hac vice)
                     MICHELLE GONZALEZ (pro hac vice)
                     SOUTHERN POVERTY LAW CENTER
                     2 S BISCAYNE BLVD, STE 3200
                     MIAMI, FL 33101
                     TEL: (786) 347- 2056
                     victoria.mesa@splcenter.org
                     mich.gonzalez@splcenter.org


                     KATIE SCHWARTZMANN (pro hac vice)
                     BRUCE HAMILTON (pro hac vice)
                     AMERICAN CIVIL LIBERTIES UNION OF LOUISIANA
                     FOUNDATION
                     P.O. Box 56157
                     New Orleans, LA 70156
                     Tel: (504) 522-0628
                     kschwartzmann@laaclu.org
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                     bhamilton@laaclu.org
                     Counsel for Plaintiffs
